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                                                                                FILED
                     UNITED STATES COURT OF APPEALS                             MAR 10 2017

                                                                             MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                            U.S. COURT OF APPEALS




In re: CLIVEN BUNDY.                                No.    17-70700
______________________________
                                                    D.C. No.
CLIVEN BUNDY,                                       2:16-cr-00046-GMN-PAL-1
                                                    District of Nevada,
              Petitioner,                           Las Vegas

 v.
                                                    ORDER
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA, LAS
VEGAS,

              Respondent,

UNITED STATES OF AMERICA,

              Real Party in Interest.


Before: W. FLETCHER, GOULD, and BYBEE, Circuit Judges.

      The request to have this petition assigned to a new panel is denied. See 9th

Cir. G.O. 3.6(d).

      The emergency motion to expedite (Docket Entry No. 2) is granted. Within

10 days after the date of this order, the real party in interest shall file an answer to

the petition for a writ of mandamus.


SLL/MOATT
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      The district court, within 10 days after the date of this order, may address the

petition if it so desires. The district court may elect to file an answer with this

court or to issue a supplemental order and serve a copy on this court.

      Petitioner may file a reply within 3 days after service of the answer(s).

      The Clerk shall serve this order on the district court and District Judge

Navarro.




SLL/MOATT                                   2                                     17-70700
